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                   COMMONWEALTH OF MASSACHUSETTS
                    DEPARTMENT OF THE TRIAL COLRT .

Hampden, ss.                                                            Superior Court
                           Civil Action No.: 2079CV00307

                       BENZ HOLDINGS,LLC,for itself and
                    as assignee ofPOSITRONXC FARMS,INC.,

                                       Plaintiff,

                                           V.



              CERTAIN UNDERWRITERS AT LLOYD'S,LONDON,
         severally subscribing to Insurance Policy Certificate No. XSV1128i,

                                      Defendant.

            IIRST AMENDED COMPLAINT FOR MONETARY AND
      INJUNCTIVE RELIEF,WITH DEMAND FOR A JURY TRIAL

                                     A. Parties.


       1.     The plaintiff Benz Holdings,LLC('"Benz"),is a Massachusetts limited

liability company with a principal offices at 72 Russell Street in North Quincy,

Massachusetts and a usual place ofbusiness at5 Appleton Street in Holyoke,

Hampden County, Massadiusetts.

       2.     The defendant. Certain Underwriters at Lloyd's,London("Lloyd's"),is

aforeign insurance indicate duly authorized under a certificate ofaudiority to engage

in the business ofinsurance in the Commonwealth ofMassachusetts, being a group of

investor indicates,known as underwriters, which pool fimds to insure various risks in

the Commonwealth ofMassachusetts and elsewhere.
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        3.       Under the terms ofthe insurance policy at issue in this litigation, being

Insurance Policy Certificate No. XSV11281,Lloyd's has designated either the

Commissioner ofthe Massachusetts Division ofInsurance,or Mendes and Mount,

LLP,as its agent for service ofprocess,^ecifying that Mendes and Mount,LLP,m^

be served at 750 Sev«ith Avenue,New York,New York 10019.

                                    B. Jurisdiction and Venue.


       4.      Jurisdiction over the subject matter of this civil action is conferred by

General Laws,Ch. 212,§ 4; Ch. 214,§ 3(6); and Ch.93A,§11.

       5.      Jurisdiction over Lloyd's is conferred by General Laws,Ch.223A,§ 3(a),

(b) and (Q, in that this action arises fi'om its conduct in transacting business in this

Commonwealth,in contracting to supply services or things in fiiis Commonwealth,and

in contracting to insure persons and risks located within this CommonweaMi at the time

ofcontracting.

       6.     Venue ofthis action in this Courtis proper pursuantto General Laws,Ch.

223,§§ 1 and 8,in that Benz has a usual place ofbusiness in Hampden County.

                                C. Factual Circumstances.

       7.     At all times material,Benz owned real estate with a commercial

building situated thereon,located at 5 Appleton Street in Holyoke, Massachusetts("the

Premises").

       8.     On or about M^ 5,2018,Benz purchased fi^om Lloyd's,for substantial

premiums duly paid,a Commercial Insurance Policy, being Insurance Policy
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Certificate No.XSVl1281,with efiective dates between          5,,2018 and May 5,

2019(hereinafter"the Policy").

       9.     While the Policy was in effect,Positronic Farms,Inc.(^Tositronic")

was,pursuant to a written lease, a tenant ofBenz on the Premises.

       10.    Both Benz and Positronic were n^ed as insureds und^ the Policy,

which provided for all lisk:coverage for loss or damage to the Premises and to the

personal properly Benz and Positronic located thereon.

       11.    The Policy also provided Braiz and Positronic with coverage for repair

to or compensation for damage done to the Premises and to die personal property of

Benz and Positronic located thereon.


       12.    The Policy also provided Benz and Positronic with liability coverage for

those sums that Benz or Positronic were legally obligated to pay because ofproperty

damage sustained by third parties.

       13.    On or about June 27,2018,while the Policy and the contract of

insurance between Lloyd's and Benz and Positronic was in full force and effect,the

Premises and the building and the related personal property ofBenz and Positronic

thereon, and the surrounding properly ofthird parties, were severely damaged by the

un&q>ected, sudden and accidental discharge ofwater fi-om a burst pipe on the

Premises,a covered cause ofloss under the Policy ("the Event").

       14.    In consequence ofthe Evoit,the personal properly offtie Pioneer

Valley Railroad, and ofthe Holyoke Gas and Electric Department(ofthe City of
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Holyoke),and ofthe City ofHolyoke sanitaiy sewer ^stem,sustained substantial

damage.

         15. . OnJuly 9,2018,Benz and Positrpnic were ordered by the

Massachusetts Department ofEnvironmental Protection, by and through City of
                                                                                1

Holyoke,to immediately remediate the extensive damage to the property and

infiastructure ofthe Pioneer Valley Railroad, and the property and infrastructure ofthe

ofthe Holyoke Gas and Electric Department,and to the property and infi^tructure of
                                 •v



the ofthe City ofHolyoke sanitary sewer system,all ofwhich resulted from the

Event.


         16.       Benz and Po.sitronic were legally obligated to and did in fact undertake

the remediation ordered by the Massachusetts Department ofEnvironmental

Protection, by and through City ofHolyoke("the Required Remediation").                  .

         17.       The.costs and expenseis ofthe Required Remediation were bom by

Benz and are covei^ under the liability portion ofthe Policy, because Benz was

legally obligated to pay the property damage sustained by third parties.

         18.       Immediate^ after the Event,notice ofthe d^age to the Premises and

the building and die related personal property ofBenz and Positronic thereon, and to
               r




the surrounding property ofthird parties^ and ofthe related losses and expenses
                                                  /
                             T



sustained by Benz and Positronic,including the costs and ei^enses ofthe Required

Remediation(hereinafter collectively "the Loss"), was timely and properly given by

B^iz and Positronic to Lloyd's.
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          19.   At all times material after the Loss,Benz and Positronic rendered

timely, proper, complete and accurate infonnation and statements ofloss, aind iully

cooper^ed with the investigation ofLloyd's conceming the Event and the Loss,all in

accordance with the terms ofthe Policy.

          20.   From the date ofthe Event to the present,Benz and Positronic have

made due and proper demand for replacement oftheir property and for payment und^

the Policy for their damages occasioned by the Event,or for referral oftheir first party

claims to referrace within the terms ofthe Policy.

       21.      From the date ofthe Event to the present,Benz and Positronic have

made due and proper demand for payment under the Policy for their damages

occasioned by the Event and the Loss and for the costs and expenses ofthe Required

Remediation.

       22.      From the date ofthe Event to the present,and despite the due demands

Benz and Positronic, Lloyd's has disclaimed coverage under the Policy for the Loss,

has failed to affirm coveragefor the Loss,hasfailed to proceed to reference on the first

party claim,and hasfailed to p^ the full damages ofB^iz and Positronic occasioned

by the Event and the Loss and the Required Remediation, all in accordance with the

Policy.

       23.      For valuable consideration giv^,Benz has received^assignment

firom Positronic ofthe claims ofPositronic against Lloyds under the Policy,in

connection with the Event,the Loss and the Required Remediation.
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       24.     As a direct and proximate result ofthe failure and refusal ofLloyd's to

pay to Benz and Positronic the amounts due under the Policy on account ofthe Event

and the Loss, and as a direct and proximate result ofthe failure and refusal ofLloyd's

to proceed to reference after due and timely demand by the Benz,Lloyd's has

forfeited, waived and relinquished its rightto reference under the Policy.

       25.     As a further direct and proximate result ofthefailure and refusal of

Lloyd's to p^ to the Benz and Positronic the amounts due under the Policy on account

ofthe Event and the Loss,and as a further direct and proximate result ofthe failure

and refusal ofLloyd's to proceed to reference after due and timely demand by the

Benz,Benz and Positronic have suffered and continue to suffer greatfinancial loss and

damage and other harm and legal detriment including,without limitation,interest on

such amount,attomey's fees and costs in enforcing the obligation ofLloyd's under the

Policy, and other consequential harm and damage.

                               D.        Claimsfor Relief.

                                         COUNT I


       26.    Benz incoiporates by reference the averments of paragr^hs 1 through

25.


       27.    The failure and refusal ofLloyd's to compensate Benzand Positronic

for the Loss and the related damages ofBenz and Positronic constitutes a breach ofthe

obligations ofLloyd's to the Benz and to Positronic under the Policy,and a breach of

the contract ofinsurance between the parties, since coverage for the Loss is provided

for and is not excluded by the Policy.
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       28.    All ofthe provisions ofthe Policy have been fully cpmpli^ with by

Benz and Fositronic, but Lloyd's has declined and refused to make paym^tto Benz

and Fositronic for the damage sustained by the Benz and Fositronic on account ofthe

Loss, v^hich damage is covered by the Policy.

       29.    As a direct and proximate result ofthe failure and refusal ofLloyd's to

pay to Benz and Fositronic the amounts due under the Policy on account ofthe Loss,

and as a direct and proximate result ofthe failure and refusal ofLloyd's to proceed to

reference after due and timely demand,die Benz and Fositronic have suffered and

continue to suffer greatfinancial loss and damage and other harm and legal detriment.

       30.    To the extent there is a dispute as to the amount ofloss on the first party

claims imder the Policy, requiring reference under M.G.L. c. 175,§99,Benz requests

an abatement ofthis action to permit reference,ifnecessary,to go forward.

       31.    All conditions precedent and juiisdictional prerequisites to the

maintenance ofthe claims ofthe Benz and Fositronic under the Policy and to the

maintenance ofthis action have been duly and timely satisfied by the Benz.

       WHEREFORE,the plaintiff, Benz Holdings,LLC,for itselfand as assignee of

Fositronic Farms,Inc., demandsjudgment against the defendant. Certain Underwriters

at Lloyd's,London,for compensatory damages,including statutory interestform the

date ofdemand,statutory prejudgment interest, costs, attorneysfees and such other

and further monetary and equitable reliefas the Court deems appropriate,including an

abat^ent ofthe action if necessary for reference.
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                                           COUNTn

         32.    Benz incorporates by reference the averments of paragr^hs 1 through

31.


         33.    At all times material,Lloyd's was,with respect to its aforementioned

acts and omissions,engaged in trade or commerce and in the business ofinsurance,all

within the meaning of Massachusetts General Laws,Oh. 93A,§§ 2 and 11 andCh.

176D.


         34.    The aforementioned acts and omissions ofLloyd's constitute unfair and

deceptive acts and practices prohibited by Massachusetts General Laws,Ch.93A,§§2

and 9.

         35.    In addition,Lloyd's has committed unfair and deceptive acts and

practices prohibited by Massachusetts General Laws,Ch.93A,§§ 2and 11, by

engaging in conduct which is in violation ofthe minimum standards ofconduct

pertaining to insurance claims practices, all as established by Massachusetts General

Laws,Ch. 176D,§ 3,including:

         a) Failing to acknowledge and act reasonably promptly upon communications

         with respect to claims arising under insurance policies;

         b) Failing to adopt and implement reasonable standards for the prompt

         investigation ofclaims arising under insurance policies;

         c) Refusing to     claims without conducting a reasonable investigation based

         upon all available information;
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        d) Failing to affirm or detQ' coverage ofclaims within a reasonable time after

        proofofloss statements have been completed;

       e) Failing to effectuate prompt fair and equitable s^«nents ofcitois in

       which liability has become reasonably clear,          ''

       f) Compelling Benzto institute litigation to recover amounts due under an

       insurance policy by offering substantially less than the amounts ultimately

       recovered by Ben2;

       g) Delving the investigation or payment ofclaims           requiring that Benz

       submit a preliminary claim report and then requiring the subsequ^t submission

       offormal proofofloss forms, both ofwhich submissions contain substantially

       the same infonnation;

       h) Failing to provide promptly a reasonable explanation ofthe basis in the

       insurance policy in relation to the facts or applicable law for denial ofa claim

       or for the offer ofa compromise settlement; and

       i) Failing to proceed to reference as required by the Policy and by

       Massachusetts law,including General Laws,Ch.175,§§ 100 and lOlF.

       36.    Lloyd's has engaged in willful and knowing violations ofMassachusetts

Gene^Laws,Ch.93A,§§ 2 and II,and the refusal and failure ofLloyd's to grant

reasonable related reliefto Benz,upon the prior requests ofBenz and upon the

requests and claims ofthe Benz as set forth in this litigation, were and continue to be

made by Lloyd's in bad faith with knowledge or reason to know that the acts and
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    practices complained of by the Benz herein violate Massachusetts General Laws,Ch.

93A,§§2 and 11.

           37.    As a direct and proximate result ofthe aforementioned unfair and

    deceptive acts and practices ofLloyd's,Benz has sufTered financial loss and detriment.

          38.     All conditions precedent and jurisdictional prerequisites to the

maintenance ofthis action have been satisfied by the Benz.

           WHEREFORE,the plaintiff, Benz Holdings,LLC,for itself and as assignee of

Positronic Fanns,Inc., demandsjudgment against the defendant. Certain Underwriters

at Lloyd's,London,

          a       for actual and compensatory damages as alleged herein;

          b.      for neble those actual and compensatory damages;

          c.      for their costs and reasonable attom^sfees incurred in bringing this

                  action;

          d.     .for statutory interest and costs;

          e.      for reformation ofthe Policy to n^ate any exclusion from or limitation

                  on coverage for the Loss; and

          f.     for such other and further monetary or equitable reliefas the Court

/                 deems ^propriate.

                                          COUNTm


          39.    Benz incorporates by reference the averments ofparagraphs 1 throu^

38.




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       40.    On       28,2019,Benz obtained ajudgment against Positronic in the

Springfield District Court in the amount of$102,739.24,together with interest that has

accrued since("the Judgm^f).

       41.    An Execution on the Judgment in the amount of$102,739.24 was

issued by the Springfield District Court on June 25,2019 C%e Execution").

       42.    Positronic has failed, despite dsnand by Benz,to     the Judgment and

the Execution.

       43.    Positronic has no property which can be reached or attached or taken on

execution.

      44.    Lloyd's is indebted to Positronic under the Policy for the Loss.

       WHEREFORE,the plaintiff, Benz Holdings,LLC,demandsjudgment against

the defendant. Certain Underwrites at Lloyd's,London,ordering that:

      a      The insurance funds due to Positronic unde Policy for the Loss be

             reached and ^plied in satis&ction ofthe Judgment;

       b.    Lloyd's p^ to Beiz the amount ofthe Judgment,and with interest and

             costs.


      c.     Benz be granted such other and further monetary or equitable reliefas

             the Court deems appropriate.

                                 E. Jury Request

   Pursuantto Mass.R. Civ.P.38,Benz requests ajury trial on all issues so triable.




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Dated; September 10,2020         BENZ HOLDINGS,LLC,
                                 for itselfand as assignee of
                                 POSITRONIC FARMS,INC.,

                                 /j/Mcuhj. AUba^M-

                              By:^
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